Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 1 of 18 PageID #: 3265



                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

DARRELL LAW,

                      Petitioner,

v.                                                          Civil Action No. 1:08cv171
                                                            Criminal Action No. 1:06cr20-09
                                                            (Judge Keeley)

UNITED STATES OF AMERICA,

                      Respondent.

                     OPINION/REPORT AND RECOMMENDATION

       On August 25, 2008, the pro se petitioner filed a Petition to Vacate Convictions and/or

Sentences Pursuant to 28 U.S.C. § 2255. (Dkt.# 619). On August 27, 2008, the undersigned

determined that summary dismissal of the petition was not warranted and the respondent was

directed to file an answer. (Dkt.# 622).

       On September 5, 2008, petitioner filed a pro se Motion Requesting Special Grand Jury and

Prosecutor. (Dkt.# 623).

       The United States filed a response to the § 2255 petition on September 15, 2008. (Dkt.#

626). The petitioner filed a reply on September 26, 2008 (Dkt.# 628), and on October 17, 2008,

a pro se Motion to be Released Pending Resolution of § 2255 (Dkt.# 640).

       On December 10, 2008, petitioner filed a pro se Motion for Status Conference. (Dkt.# 664).

       On December 17, 2009, petitioner filed a pro se Motion for Omnibus Discovery in Buttress

of Evidentiary Hearing for “Selective Vindictive Prosecution” (Dkt.# 769), and a pro se Motion for

Evidentiary Hearing in Specific Regard to Claim of “Selective Vindictive Prosecution” (Dkt.# 771).

       This case is before the undersigned for a report and recommendation pursuant to Standing

Order No. 4 and LR PL P 83.01, et seq.
Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 2 of 18 PageID #: 3266




                                      I.   Procedural History

A. Conviction and Sentence

       On March 7, 2006, petitioner and eight other individuals were named by a federal grand jury

in a thirteen count indictment. (Dkt.# 1). Specifically, the petitioner was named in three counts of

the indictment alleging: Count 1 (conspiracy with intent to distribute in excess of 50 grams of

cocaine base from on or about the spring of 2005 to January 25, 2006, in violation of 21 U.S.C. §§

841(b)(1)(A)(iii) and 846; Count 9 (distribution of a quantify of cocaine base in exchange for $50.00

on or about November 18, 2005, in violation of Title 21, U.S.C. §§ 841(a)(1) and 841(b)(1)(C);

Count 10 (distribution of a quantity of cocaine base in exchange for $70.00 on or about November

18, 2005, in violation of 21 U.S.C. § § 841(a)(1) and 841(b)(1)(C)). Id.

       Petitioner proceeded to trial, and on October 12, 2006 was convicted on all three counts.

 The jury also found that the Count One offense as it related to petitioner involved more than 5

grams of cocaine base. (Dkt.# 373).

          Pursuant to the District Court’s directive, a Pre-Sentence Investigation Report was

prepared, which recommended relevant conduct of at least 5 but less than 20 grams of cocaine base,

and no adjustments or enhancements to his sentence. (Dkt.# 493 at 4 - 6). Petitioner had a total

offense level of 26 for the three counts, and a criminal history category of VI, giving him a guideline

range for imprisonment of 120 to 150 months. (Id. at 30). On March 2, 2007 petitioner was

sentenced to 120 months imprisonment on each count, to be served concurrently; five years

supervised release on Count 1, 3 years supervised release on Counts 9 and 10, to run concurrently;

no fine; and a $100 special assessment on each count for a total special assessment of $300.00.

(Dkt.# 497).


                                                  2
Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 3 of 18 PageID #: 3267




B.       Direct Appeal

         Petitioner, through counsel, filed a notice of appeal to the Fourth Circuit Court of Appeals

on March 14, 2007. (Dkt.# 503). As grounds for his appeal, the petitioner asserted the following:1

         (1)      There was insufficient evidence to support his conspiracy conviction on Count 1
                  because the Government failed to prove the existence of a “hub and spoke”
                  agreement between petitioner and a co-defendant;

         (2)      the District Court erred in admitting evidence on the controlled buys that were the
                  basis for Counts 9 and 10, based on the WV State Trooper’s field tests which lacked
                  a scientific basis; when the substances recovered from the controlled buys in Counts
                  9 and 10 were not introduced into evidence; when there were no lab tests conducted
                  on the substances recovered in the controlled buys; and when the Government
                  surreptitiously introduced the evidence of the controlled buys through the State
                  Trooper’s testimony;

         (3)      the District Court committed reversible error by permitting the State Trooper to
                  bolster testimony of drug weights that had never been scientifically calculated;

         (4)      the sentence imposed by the District Court was erroneous.

         Additionally, petitioner filed his own pro se supplemental brief, asserting that:

         (5)      the District Court abused its discretion when it denied petitioner’s post-verdict
                  Motion for Acquittal and Motion for Mistrial pursuant to Fed.R.Crim.Pro. 29;

         (6)      the Government constructively amended the indictment;

         (7)      the District Court constructively amended the indictment;

         (8)      the jury’s special interrogatory sheet violated the 4th Circuit’s holding in United
                  States v. Floresca, 38 F.3d 706 (4th Cir. 1994); and

         (9)      there was a conflict of interest between petitioner’s two attorneys that prejudiced
                  him.

         On June 20, 2008, in a per curiam unpublished opinion, the Fourth Circuit Court of Appeals

         1
           Some of petitioner’s grounds for appeal were filed through counsel and some through a pro se brief
petitioner later filed on his own behalf. The 4th Circuit reviewed both briefs before issuing its opinion, as evidenced
by an August 4, 2008 letter to petitioner from the Deputy Clerk of the 4th Circuit (4th Cir. Dkt.# 107) (07-4304), in
response to petitioner’s August 1, 2008 letter of inquiry. (4th Cir. Dkt.# 106) (07-4304).

                                                           3
Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 4 of 18 PageID #: 3268




affirmed petitioner’s convictions and sentence their entirety. (Dkt.# 593). Appellate counsel filed

a motion for rehearing and rehearing en banc (4th Cir. Dkt. # 100) (07- 4303) on July 7, 2008, which

was denied on July 24, 2008 (4th Cir. Dkt.# 104) (07- 4303) . Mandate issued on July 31, 2008.

(Dkt.# 613).

       Petitioner did not file a petition for writ of certiorari to the United States Supreme Court.

C.     Federal Habeas Corpus

       Petitioners’ Contentions (Dkt.# 619)

       In his federal habeas petition the petitioner raises multiple issues for relief including:

       (1) The Government’s decision to prosecute him was vindictive and selective;

       (2) Convictions resulting from unconstitutional pre-trial and trial proceeding(s) are illegal
       and/or fundamentally unfair;

               a) Petitioner’s trial was presided over by a District Judge who was one of the
               respondents in a Bivens action petitioner had filed approximately one month earlier;

               b) The Court abused its discretion when it appointed co-counsel for petitioner;

               c) The Court abused its discretion when it failed to conduct an evidentiary hearing;

               d) The Special Interrogatory Form used at trial invaded the fact-finding duty of the
               jury.

       (3) Sentencing was unreasonable;

       (4) Ineffective assistance of counsel during pre-trial, trial, and sentencing; and

       (5) Ineffective assistance of appellate counsel on direct appeal.

       Government’s Response (Dkt.# 626)

       In its response, the government answers the petitioner’s claims as follows:

       (1) Petitioner’s Ground One and Two claims are procedurally defaulted because he could
       have raised them on appeal but failed to, and thus has waived the right to do so, unless he
       can demonstrate either cause, actual prejudice, or ‘actual innocence.” Petitioner has failed

                                                  4
Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 5 of 18 PageID #: 3269




       to demonstrate cause, actual prejudice, or ‘actual innocence;” therefore his claims should be
       denied.

       (2) Petitioner’s Ground Three claims are unfounded. Further, sentencing issues generally
cannot be raised in a habeas corpus petition.

        (3) Petitioner’s Ground Four and Five Ineffective Assistance of Counsel (IAC) claims are
unsupported and should be denied. Further, in order to sustain such claims, petitioner must
demonstrate that counsel’s representation was so deficient that it fell below an objective standard
of reasonableness, and that there is a reasonable probability that counsel’s deficient performance
prejudiced the defense such that the results of the proceeding would have been different had the
errors not been made. Petitioner has failed to demonstrate where or how he was denied any
fundamental right and therefore has not established the prejudice prong of Strickland.

       Petitioner’s Reply (Dkt.# 628)

       In his reply, the petitioner expands on the issues raised in his original petition, as follows:

       (1) Supplementing Original Issue (1): The Government’s vindictive and selective
       prosecution of him was “illicit retaliation and discriminatory animus” against him for his
       exercise of his constitutional rights. Petitioner was “technically” without counsel at the time
       the Government “issued the threatening ultimatum” regarding his decision to refuse the plea
       agreement. The AUSA obtained the indictment based upon false pretense and singled
       petitioner out for pre-trial detention.

       (2) Supplementing Original Issue (2)(a): The Government did not respond to petitioner’s
       contention that his right to an impartial judge was denied.

       (3) Supplementing Original Issue (2)(b): Petitioner’s 6th Amendment right to counsel was
       violated when the Court appointed co-counsel to assist the “unlicensed” attorney he wanted
       removed from his case, because the “conflict of interest” between the two attorneys
       representing him denied him the effective assistance of counsel, since the more experienced
       attorney was appointed “‘presumptively’ to train (and mentor) . . . Sivakurmaran
       [petitioner’s original attorney] and not necessarily to represent . . . petitioner[.]” Petitioner
       contends that this “actual conflict situation” has continued to the present, that in effect, he
       has had to proceed “up unto this point without counsel[,]” an “obviously adverse effect.”

       (4) Supplementing Original Issue (2)(d) and (3): Petitioner “has no ‘total drug relevant
       conduct’ for which he is solely held responsible for, that would (normally) have been utilized
       to determine a ‘reasonable sentence.’”

       (5) Supplementing Original Issue (2)(a)(b)(c) and (d): The only way the Government
       could have obtained guilty verdicts on all three counts was “through the substantial
       assistance and lenient mannerisms of the court[.]”

                                                  5
Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 6 of 18 PageID #: 3270




       (6) Supplementing Original Issue (2)(d) and (3): The jury’s special interrogatory sheet
       and the reasonable doubt instruction were “inappropriately unconstitutional.”

       (7) Supplementing Original Issue (5): Appellate counsel was ineffective for failing to
       submit the following issues on appeal:

               a) The Government’s constructive amendment of the indictment;

               b) The District Court’s constructive amendment of the indictment;

               c) The jury’s special interrogatory sheet and its reasonable doubt instruction violated
               United States v. Floresca, 38 F.3d 706, 714 (4th Cir. 1994);

               d) numerous acts of prosecutorial misconduct;

               e) a 404(b) violation;

               f) insufficient evidence on Counts 9 and 10;

               g) The District Court violated petitioner’s right to cross examine key witnesses;

               h) The District Court failed to give a Pinkerton instruction;

               i) The District Court “failed to give buyer sailor instruction [sic];”

               j) Petitioner’s sentences were unreasonable under Booker and were not proper under
               the requirements set forth under 18 U.S.C. § 3552.

D.     Other Collateral Proceedings

       On June 8, 2009, petitioner, through appointed counsel, filed a Motion for Retroactive

Application of Sentencing Guidelines to Crack Cocaine Offense pursuant to 18 U.S.C. 3582. (Dkt.#

720). On June 18, 2009, the District Court granted the petitioner’s motion for retroactive application

of sentencing guidelines to crack cocaine offenses, (Dkt.# 721), reducing petitioner’s sentence from

120 months to 100 months. Id.

       Subsequently, on June 19, 2009, petitioner filed a pro se Notice of Disapproval to Motion

Pursuant to 18 U.S.C. § 3582(c) (Dkt.# 722), and on June 29, 2009, a pro se Motion to Alter or

                                                  6
Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 7 of 18 PageID #: 3271




Amend Judgment/Order (Dkt.# 724). The Motion to Alter or Amend Judgment/Order was denied

on July 21, 2009 (Dkt.# 732).

                                           III. Analysis

A.     Burden of Proof

       “A petitioner collaterally attacking his sentence or conviction bears the burden of proving

that his sentence or conviction was imposed in violation of the Constitution or laws of the United

States, that the court was without jurisdiction to impose such a sentence, that the sentence exceeded

the maximum authorized by law, or that the sentence otherwise is subject to collateral attack. 28

U.S.C. § 2255. A motion collaterally attacking a petitioner’s sentence brought pursuant to § 2255

requires the petitioner to establish his grounds by a preponderance of the evidence.” Sutton v. United

States of America, 2006 WL 36859 *2 (E.D.Va Jan. 4, 2006).

B.     Procedurally Barred Claims

       Before evaluating the merits of petitioner’s claims, the Court must determine which of his

issues he may bring in his § 2255 motion and which are procedurally barred.

       It is well settled that issues previously rejected on direct appeal may not be raised in a

collateral attack. Boeckenhaupt v. United States, 537 F.2d 1182, 1183 (4th Cir. 1976). See also

Herman v. United States, 227 F.2d 332 (4th Cir. 1955). Constitutional errors that were capable of

being raised on direct appeal but were not may be raised in a § 2255 motion so long as the petitioner

demonstrates 1) “cause” that excuses his procedural default, and 2) “actual prejudice” resulting

from the alleged error. United States v. Maybeck, 23 F.3d 888, 891 (4th Cir. 1994). Claims of

ineffective assistance of counsel not raised on direct appeal and raised on collateral attack do not

require a “cause and prejudice” showing because these claims are more appropriately raised on


                                                  7
Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 8 of 18 PageID #: 3272




collateral attack than on direct appeal. See United States v. Richardson, 195 F.3d 192 (4th Cir.

1999), cert. denied, 528 U.S. 1096 (2000); White v. United States, 2006 U.S. Dist. LEXIS 45122,

at *7-8 (S.D. W.Va. June 20, 2006).

       In this case, Petitioner’s Ground Two (c) claim that the Court abused its discretion when it

failed to conduct an evidentiary hearing; his Ground Two (d) claim that the Special Interrogatory

Form used at trial invaded the jury’s fact-finding duty; and his Ground Three claim that his sentence

was unreasonable are all procedurally barred because they were raised and rejected as being without

merit by the Fourth Circuit Court of Appeals. Issues already raised and decided on direct appeal

cannot therefore be reconsidered, absent a showing of a change in the law. Davis v. United States,

417 U.S. 333 (1974); Boeckenhaupt v. United States, 537 F.2d 1182 (4th Cir. 1976). Because

petitioner has failed to make the requisite showing, these claims should be denied.

       “[A] final judgment commands respect. For this reason, we have long and consistently

affirmed that a collateral challenge may not do service for an appeal.” United States v. Frady, 456

U.S. 152, 165 (1982). Therefore, the failure to raise a claim on direct appeal may result in a

procedural default barring collateral review. Bousley v. United States, 523 U.S. 614 (1998).

       “In order to collaterally attack a conviction or sentence based upon errors that could have

been but were not pursued on direct appeal, the movant must show cause and actual prejudice

resulting from the errors of which he complains or he must demonstrate that a miscarriage of justice

would result from the refusal of the court to entertain the collateral attack.” United States v.

Mikalajunas, 186 F.3d 490, 492-493 (4th Cir. 1999). “The existence of cause for a procedural

default must turn on something external to the defense, such as the novelty of the claim or a denial

of effective assistance of counsel.” Id. Actual prejudice is then shown by demonstrating that the


                                                 8
Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 9 of 18 PageID #: 3273




error worked to petitioner’s “actual and substantial disadvantage,” rather than just creating a

possibility of prejudice. See Satcher v. Pruett, 126 F.3d 561, 572 (4th Cir. 1997) (quoting Murray

v. Carrier, 477 U.S. 478, 494 (1986)).

         “In order to demonstrate that a miscarriage of justice would result from the refusal of the

court to entertain the collateral attack, a movant must show actual innocence by clear and convincing

evidence.” Mikalajunas,186 F.3d at 493. “Typically, to establish actual innocence, a petitioner must

demonstrate actual factual innocence of the offense of conviction, i.e., that petitioner did not commit

the crime of which he was convicted; this standard is not satisfied by a showing that a petitioner is

legally, but not factually, innocent.” Id. at 494. The petitioner must show that “it is more likely than

not that no reasonable juror would have convicted him.” Schlup v. Delo, 513 U.S. 298 (1995).

         Petitioner’s Ground One claim that his prosecution was “vindictive and selective;” his

Ground Two claims that his conviction is a result of unconstitutional and unfair pre-trial and trial

proceedings because (a) the District Judge was biased against him and should have recused herself;2

(b) and the District Court abused its discretion when it appointed co-counsel for petitioner are all

procedurally defaulted because petitioner could have, but failed to raise them on appeal. Petitioner

has made no attempt to demonstrate cause for failing to raise these issues on appeal, nor has he



         2
           Petitioner alleges that the Government failed to address this claim it its response; however, the
Government did address it. (Dkt.# 626 at 4). On January 8, 2009 petitioner filed an Affidavit (Dkt.# 680) in District
Court, seeking to disqualify the District Judge for her purported bias. When the District Judge issued her decision
refusing to recuse herself, in a Memorandum Opinion and Order Construing Affidavit as a Motion to Disqualify and
Denying Motion (Dkt.# 726), petitioner appealed the issue and sought a writ of mandamus from the Fourth Circuit.
The Fourth Circuit Court of Appeals denied the petition and dismissed the appeal for lack of jurisdiction in an
unpublished per curiam opinion on December 3, 2009, as the District Judge’s Order was neither a final order nor an
appealable interlocutory or collateral order. (Dkt.# 767). Petitioner’s 42 U.S.C. § 1983 action (3:06cv96), filed on
September 18, 2006, less than a month before trial, against the District Judge, the Magistrate Judge, two U.S.
Attorneys, and a State Police officer, was dismissed by Order of this Court on May 30, 2007. (3:06cv96, Dkt.# 40).
Petitioner appealed that decision to the Fourth Circuit Court of Appeals where it was affirmed by unpublished per
curiam opinion on October 6, 2009. (09-6594) (4th Cir. Dkt.# 86).

                                                         9
Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 10 of 18 PageID #: 3274




shown prejudice or actual innocence, therefore these claims should be denied.

Ground Four: Whether trial counsel provided ineffective assistance during pre-trial, trial and
sentencing proceedings.

       In Strickland v. Washington, 466 U.S. 668 (1984), the Supreme Court of the United States

established a two-part test for determining whether a convicted person is entitled to relief on the

ground that his counsel rendered ineffective assistance. The first prong of the test requires that the

petitioner demonstrate that counsel’s performance was deficient and “fell below an objective

standard of reasonableness.” Strickland at 688. The second prong requires the petitioner to show

that the deficient performance prejudiced the defense. Id. at 687. In order to satisfy the prejudice

requirement of the two-prong test set forth in Strickland, defendant must show that “counsel’s errors

were so serious as to deprive the defendant of a fair trial, a trial whose result is reliable.” Lockhart

v. Fretwell, 506 U.S. 364 (1993).

       It is further noted that a Court must indulge a strong presumption that counsel’s conduct falls

within the wide range of reasonably professional assistance. Strickland 466 U.S. at 689-90.

Moreover, there are no absolute rules in determining what is reasonable performance. See Hunt v.

Nuth, 57 F.3d 1327, 1332 (4th Cir. 1995) (counsel’s representation is viewed on the facts of a

particular case and at the time of counsel’s conduct).

       Petitioner’s § 2255 alleges ineffective assistance of counsel (IAC) at sentencing only.

However, in his argument, he expands this to include ineffectiveness “during pre-trial, trial and

sentencing,” asserting that “[d]ue to the erroneous decision of the . . . court to appoint multiple

attorneys . . . “ a “conflict situation” occurred. He claims to “possesses documentation of which

absolutely establishes that ‘a plausible alternative defense strategy or tactic could have been pursued,

but was not because of the actual conflict that impaired his counsel’s performance.’” (Dkt.# 619 at

                                                  10
Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 11 of 18 PageID #: 3275




10).    He declined, however to delineate exactly what that conflict situation was “due to the

complexity of the required ‘demonstration[,]’” preferring instead to “preserve the argument for this

claim in the possible event of an evidentiary hearing.” (Id.). Instead, he vaguely alludes to the

situation creating “needless complications.”

         In response to the Government’s pointing out he had provided no evidence to support his

IAC claims regarding appellate counsel, his reply claims for the first time that his original counsel

was ‘unlicensed’3 and so co-counsel was appointed “‘presumptively,’ to train (and mentor) counsel

. . . Sivakumaran and not necessarily to represent the Petitioner in those proceedings.” He claims

that this situation had such an adverse effect on his representation that he was “constructively

denied” the assistance of counsel when the Court refused to grant his attorney’s motion to

withdraw.4 He alleges that he has essentially “proceeded up unto this point without counsel.”

Petitioner offers no details of specific things that either his original or later-appointed attorney did

or failed to do that negatively affected the outcome of either his trial or sentencing, nor any proof

in the form of affidavits, declarations, or other evidence to support his claim.

         “The Sixth Amendment guarantees an accused the right to effective assistance of counsel,

and an essential aspect of this right is a lawyer ‘unhindered by conflicts of interest.’” See United

States v. Nicholson, 475 F.3d 241, 248 (4th Cir. 2007) (citing Strickland v. Washington, supra and

quoting Mickens v. Taylor, 240 F.3d 348, 355 (4th Cir. 2001) (en banc), aff’d, 535 U.S. 162 (2002)).

When a petitioner asserts an ineffective assistance of counsel claim based on a conflict of interest,



         3
          This claim is unsupported by the record and petitioner provides no affidavit or proof to support this
allegation.
         4
        Trial counsel’s July 17, 2006 Motion to Withdraw was based on having received petitioner’s “written
communication . . . on . . . July 14, 2006 . . . inform[ing] me that he does not need my services[.]” (Dkt.# 198)

                                                          11
Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 12 of 18 PageID #: 3276




the standard for such a claim is set forth in Cuyler v. Sullivan, 446 U.S. 335 (1980). Nicholson at

249. “To establish a conflict of interest resulted in ineffective assistance, ‘[m]ore than a mere

possibility of conflict must be shown.’” Id. (quoting United States v. Tatum, 943 F.2d 370, 375 (4th

Cir. 1991)). Instead, the petitioner must show “(1) that his lawyer was under an actual conflict of

interest, and (2) that this conflict adversely affected his lawyer’s performance.” Id. (citing Cuyler

v. Sullivan, 446 U.S. at 348) (internal citations omitted).

       To show an actual conflict of interest, the petitioner “must show that [his] interests diverged

with respect to a material factual or legal issue or to a course of action.” Gilbert v. Moore, 134 F.3d

642, 652 (4th Cir. 1998) (en banc) (internal quotations omitted). Alternately, a conflict of interest

exists when counsel is regarded as “account[ing] to two masters” or when he fails to take action on

behalf of one client because it would adversely affect another. United States v. Tatum, 943 F.2d at

376.

       Habeas petitions must meet heightened pleading requirements. McFarland v. Scott, 512 U.S.

849, 856 (1994). The petition must come forward with evidence that the claim has merit. Nickerson

v. Lee, 971 F.2d 1125, 1131 n.8 (4th Cir. 1992), cert. denied, 507 U.S. 923 (1993), abrogation on

other grounds recognized, Yeatts v. Angelone, 166 F.2d 255 (4th Cir. 1999). Allegations amounting

to nothing more than conclusions provide no basis for an evidentiary hearing.

       Here, petitioner’s claim of ineffective assistance of counsel are vague, conclusory and

insufficiently pled. He has not alleged that counsels’ interests diverged with respect to his on a

material factual or legal issue or on a particular course of action, or that he regarded counsel as

“accounting to two masters,” or that counsel failed to take action on his behalf because it would

adversely affect another client. He has failed to show that counsels’ interests diverged with his with


                                                  12
Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 13 of 18 PageID #: 3277




respect to any material factual or legal issue, or any realistic course of action. He has made no

specific allegation regarding any particular omission or failure. Petitioner cites nothing in support

of his conflict of interest claim to show that either of his appointed attorneys did not provide

effective advocacy and good lawyering on genuinely substantive issues, instead of ineffectiveness

or refusal to act in petitioner’s best interest. Petitioner has presented no proof that counsel

abandoned his duty of loyalty to his client, has failed to show by a preponderance of the evidence

that he is entitled to relief, and this claim should be denied.

Ground Five: Whether appellate counsel provide ineffective assistance when he failed to
present certain issues on appeal.

       The standard of effective assistance of appellate counsel is the same as for trial counsel. See

Bell v. Jarvis, 236 F.3d 149, 164 (4th Cir. 2000) (“In order to establish a claim that appellate counsel

was ineffective for failing to pursue a claim on direct appeal, the applicant must normally

demonstrate (1) that his counsel’s performance fell below an objective standard of reasonableness

in light of the prevailing norms, and (2) that there is a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been different.”) (internal citations

and quotations omitted). On review, however, appellate counsel is accorded the “presumption that

he decided which issues were most likely to afford relief on appeal.” Pruett v. Thompson, 996 F.2d

1560, 1568 (4th Cir. 1993). Moreover, “[c]ounsel is not obligated to assert all nonfrivolous issues

on appeal.” Bell v. Jarvis, 236 F.3d at 164. Instead, “[t]here can hardly be any question about the

importance of having the appellate advocate examine the record with a view to selecting the most

promising issues for review.” Jones v. Barnes, 463 U.S. 745, 752 (1983); see also Smith v. South

Carolina, 882 F.2d 895, 899 (4th Cir. 1989). “Indeed, winnowing out weaker arguments on appeal

and focusing on those more likely to prevail, far from being evidence of incompetence, is the

                                                  13
Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 14 of 18 PageID #: 3278




landmark of effective advocacy.” Bell v. Jarvis, 236 F.3d at 164 (quoting Smith v. Murray, 477 U.S.

527, 536 (1986) (internal quotations omitted). However, although it is “still possible to bring a

Strickland claim based on counsel’s failure to raise a particular claim” on direct appeal,

demonstrating that counsel was incompetent for failing to do so will be difficult. Smith v. Robbins,

528 U.S. 259, 288 (2000). “Generally only when ignored issues are clearly stronger than those

presented, will the presumption of effective assistance of counsel be overcome.” Gray v. Greer, 800

F.2d 644, 646 (7th Cir. 1986).

        Petitioner’s § 2255 argument claims that his appellate counsel, purportedly already deemed

“incompetent and inexperienced” at the District Court level, was so incompetent at the appellate

level that petitioner was forced to file his own pro se supplemental brief to the 4th Circuit Court of

Appeals, because appellate counsel “blatantly refused to present all meritorious issues.” He claims

that his pro se brief “was never ruled upon.” This claim is, as petitioner well knows, categorically

false. The August 4, 2008 letter from the 4th Circuit’s Deputy Clerk to petitioner clearly shows that

he was informed that “[t]he Court did review your entire case, including your brief, before issuing

their opinion.” (4th Cir. Dkt.# 107) (07-4304) (emphasis added).

        Petitioner claims that appellate counsel failed to appeal: (a) the Government’s constructive

amendment of the indictment; (b) the District Court’s constructive amendment of the indictment;

(c) the jury’s special interrogatory sheet and its reasonable doubt instruction violating the holding

of United States v. Floresca, supra; (d) numerous acts of prosecutorial misconduct; (e) an

(unspecified) 404(b) violation which occurred; (f) that there was insufficient evidence to prove

Counts 9 and 10; (g) that the District Court’s violated his right to cross examine key witnesses; (h)

the District Court’s failure to give a Pinkerton instruction; (i) the District Court’s failure to give a



                                                  14
Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 15 of 18 PageID #: 3279




“buyer sailor”[sic] instruction; and (j) his sentence(s) were unreasonable under Booker and were not

appropriately framed within the requirements set forth under 18 U.S.C. § 3552.

         A cursory review of the appellate record reveals that most of petitioner’s claims about what

issues appellate counsel ‘blatantly refused’ to present on appeal are patently untrue. Petitioner’s

Ground Five (f), (h), (i), and (j) claims were raised on appeal by appellate counsel, although claims

(h) and (i) were expressed differently on appeal by counsel than petitioner words them in his

petition. In Ground Five (h) petitioner complains appellate counsel failed to appeal the District

Court’s failure to give a Pinkerton instruction,5 and in Ground Five (i), the Court’s failure to give

a “buyer-sailor” [sic] instruction;6 both go to the same issue presented by appellate counsel, the

District Court’s failure to identify the ‘hub and spoke’ necessary to prove the elements of

conspiracy. Further, these two claims are insufficiently pled, as petitioner offers no information

regarding how the omission of the Pinkerton and/or “buyer-seller” instructions affected his case.

He does not explain how he was harmed by these alleged failures by appellate counsel’s failure to

raise these issues on appeal. Regardless, appellate counsel did present them and the Fourth Circuit

has already considered these arguments and rejected them. These claims are denied.

         Petitioner’s Ground Five (a), (b), and (c) claims (the Government’s constructive amendment

of the indictment; the District Court’s constructive amendment of the indictment; and the jury’s

special interrogatory sheet and its reasonable doubt instruction violated United States v. Floresca)



         5
           In Pinkerton, the United States Supreme Court held that a co-conspirator could be guilty of a substantive
offense even though he did no more than join the conspiracy, provided that the offense was reasonably foreseeable
and was committed in furtherance of the conspiracy. Pinkerton et al. v. U.S., 328 U.S. 640, 647 - 648, 66 S.Ct.
1180, 90 L.Ed. 1489 (1946). Instructing juries on this concept has come to be known as a “Pinkerton instruction.”
         6
            Presumably petitioner intended to allege that the District Court failed to give a “buyer-seller” instruction,
i.e., an instruction that a mere “buyer-seller” relationship alone does not support a conspiracy conviction.

                                                            15
Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 16 of 18 PageID #: 3280




were raised on appeal by petitioner himself, in his pro se supplemental brief. Petitioner has failed

to provide any evidence or support to show that appellate counsel was ineffective, or arguendo, that

appellate counsel’s errors, if any, prejudiced him, because, by filing his own pro se supplemental

brief, petitioner was never deprived of the opportunity to have Grounds Five (a), (b), and (c)

considered and thus he was not prejudiced by appellate counsel’s decision not to raise them. These

claims should be denied.

       Petitioner’s Ground Five (e) and (g) claims (an unspecified 404(b) violation and the District

Court violated his right to cross examine key witnesses) are insufficiently pled. Petitioner does not

elaborate on what the 404(b) violation was. He provides no information regarding which key

witnesses he was prevented from cross-examining or how their testimony might have affected the

outcome of his case. These claims are so insufficiently pled they are impossible to respond to and

should be denied.

       Finally, in petitioner’s Ground Five (d) claim that appellate counsel failed to submit the issue

of “numerous acts of prosecutorial misconduct” on appeal, he fails to rebut the presumption that

appellate counsel merely winnowed out the weaker arguments from those more likely to prevail, as

he is required to do. It is likely that appellate counsel did not raise this issue on appeal because it

was so lacking in merit that it was clearly a non-issue. Counsel has no obligation to make meritless

arguments. The 4th Circuit’s recent opinion affirming this Court’s decision on these same claims

by petitioner in his 42 U.S.C. 1983 action demonstrates that their lack of merit. This claim should

be denied.

       Accordingly, petitioner has not shown that appellate counsel was ineffective for failing to

raise his Ground Five issues. The record does not support most of petitioner’s contentions. The


                                                  16
Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 17 of 18 PageID #: 3281




entire Ground Five claims are insufficiently pled, a mere recitation of a laundry list of claims with

no argument in support. Petitioner has not demonstrated that appellate counsel’s performance fell

below an objective standard of reasonableness, let alone that had counsel done otherwise, the result

of the proceeding would have been different Because petitioner fails to make the requisite showing

of cause and prejudice, or that a fundamental miscarriage of justice will occur if his Ground Five

claims are not considered on the merits, these claims should be denied.

                                   IV.    OTHER MATTERS

A.     Petitioner’s September 5, 2008 pro se Motion Requesting Special Grand Jury and

       Prosecutor (Dkt.# 623) is DENIED as moot.

B.     Petitioner’s October 17, 2008 pro se Motion to be Released Pending Resolution of § 2255

       (Dkt.# 640) is DENIED as moot.

C.     Petitioner’s December 10, 2008 pro se Motion for Status Conference. (Dkt.# 664) is

DENIED as moot.

D.     Petitioner’s December 17, 2009 pro se Motion for Omnibus Discovery in Buttress of

Evidentiary Hearing for “Selective Vindictive Prosecution” (Dkt.# 769) is DENIED as moot.

E.     Petitioner’s December 17, 2009 pro se Motion for Evidentiary Hearing in Specific Regard

to Claim of “Selective Vindictive Prosecution” (Dkt.# 771) is DENIED as moot.

                                  V. RECOMMENDATION

       For the reasons set forth in this opinion, the undersigned recommends that the Court enter

an Order DENYING the petitioner’s § 2255 motion (Dkt.# 619) and DISMISSING this case with

prejudice.

       Within fourteen (14) days after being served with a copy of this Recommendation, any party



                                                 17
Case 1:06-cr-00020-IMK Document 775 Filed 12/28/09 Page 18 of 18 PageID #: 3282




shall file with the Clerk of the Court written objections identifying those portions of the

Recommendation to which objections are made, and the basis for such objections. A copy of such

objections shall also be submitted to the United States District Judge. Failure to timely file

objections to the Recommendation set forth above will result in waiver of the right to appeal from

a judgment of this Court based upon such Recommendation. 28 U.S.C. § 636(b)(1); Thomas v. Arn,

474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); United States v. Schronce,

727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984).

       The Clerk is directed to send a copy of this Opinion/Report and Recommendation to the pro

se petitioner by certified mail, return receipt requested, to his last known address as shown on the

docket. The Clerk is further directed to provide copies of this Opinion/Report and Recommendation

to counsel of record via electronic means.

       DATED: December 28, 2009




                                                18
